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 1    Jiramos S.A. de C.V. and Does 1 through 100 on personal knowledge as follows:
 2                                        INTRODUCTION
 3           1.      This action is filed by the victims of a conspiracy to provide television
 4    network to advertise in the United States for PRI campaign for the political presidential
 5    candidacy of Enrique Pena Nieto. Pursuant to meetings between the parties, a contract
 6    was entered into on November 28, 2011, between the parties for political advertising
 7    campaign for PRI candidate. On November 28, 2011, Defendants executed the contract
 8    to obtained funding from the Mexican government to advertise in the United States for
 9    PRI campaign for the political presidential candidacy of Enrique Pena Nieto.
10    Defendants’ and each of them converted the funds for their own private use.
11    Defendants’ and each of them refused to pay for the advertising campaign for PRI
12    candidate Enrique Pena Nieto. Defendants’ and each of them concealed the fact that
13    they converted the advertising funds for their own private and personal use. The
14    defendants - Alejandro Carrillo Garza Sada; GM Global S. A. de CV; Erwin Lino; David
15    Lopez; Roberto Calleja; Hugo Vigues; Alfredo/Carrillo Chontkowsky; Jose Carrillo
16    Chontkowsky; Alejandro Ramirez Gonzalez; SISA S. A. De CV; Manuel Gascon;
17    Jiramos S.A. de C.V. - are the perpetrators of a fraudulent conspiracy and the members
18    of a racketeering enterprise with the object of converting campaign funds for their
19    personal use, and denying plaintiff from receiving it’s just benefits from the written
20    contract in the way of that objective.
21           2.      Plaintiff Frontera Television Network LLP is a Nevada Limited Liability
22    Partnership.
23           3.      Defendant, Alejandro Carrillo Garza Sada met with Frontera Television
24    Network LLP through it’s authorized agent Jose Aquino in November of 2011, Mr. Jose
25    Aquino, is the owner and President of Frontera Television Network, and Jose Aquino
26    was invited by Alejandro Carrillo Garza Sada to meet Pepe Carrillo and Alfredo Carrillo
27    Chontkosky at a breakfast at the Café de la O del Conjunto Arcos, and Jose Aquino was
28    presented with a project to disseminate the image and positioning of the Lic. Enrique


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 1    Peña Nieto, the candidate of the PRI to the Presidency of the Republic, through
 2    spectacular, magazines, radio, television, Internet and social networks to be operated in
 3    the United States of America, using the structure and relations of Frontera Television
 4    Network LLP through it’s authorized agents with the media in the United States, project
 5    for which Frontera Television Network LLP through it’s authorized agents subsequently
 6    design a media Plan, for an amount of us $56 million US Dollars, being agreed under the
 7    terms and conditions of the parties to the contract dated November 28, 2011. Mario
 8    Ignacio Moran Jimenez had his sister Giselle Moran to meet with Frontera Television
 9    Network LLP through it’s authorized agents in November of 2011, Jose Aquino was
10    invited to meet Pepe Carrillo at a breakfast at the Café de la O del Conjunto Arcos, and
11    Jose Aquino was presented with a project to disseminate the image and positioning of the
12    Lic. Enrique Peña Nieto, the candidate of the PRI to the Presidency of the Republic,
13    through spectacular, magazines, radio, television, Internet and social networks to be
14    operated in the United States of America, using the structure and relations of Frontera
15    Television Network LLP through it’s authorized agents with the media in the United
16    States, project for which Frontera Television Network LLP through it’s authorized
17    agents subsequently design a Media Plan, for an amount of us $56 million US Dollars,
18    being agreed to under the terms and conditions of the parties to the transaction.
19    Defendant, Alejandro Carrillo Garza Sada through Giselle Moran sister of Mario Ignacio
20    Moran Jimenez all were the negotiators, as a matter of fact Mario Ignacio Moran
21    Jimenez personally never was mentioned it was at all times his sister Giselle Moran and
22    her company defendant, GM Global S. A. and defendant, Alejandro Carrillo Garza Sada
23    who did all of the negotiating with the PRI. Money was funded to Monex Bank, Banca
24    Mifel in Virreyes Alicama 5 Mexico City to the account of Jiramos S.A C.V, defendants
25    withdrew the money and split the money with the PRI Officials and their co-conspirators
26    David Lopez, Erwin Lino, Alfredo/Pepe Carrillo Chontkosky, Roberto Callejas, Hugo
27    Vigues and Luis Videgaray and never Funded the project as was promise. Defendants
28    used Plaintiff’s American companies to justify a bonafide transaction, Plaintiff Frontera


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 1    Television Network LLP through it’s authorized agents contacted the PRI officials -
 2    David Lopez, Edwing Lino, Roberto Callejas, Alfredo Carrillo, and Jose Carrillo and
 3    Plaintiff Frontera Television Network LLP through it’s authorized agents were threaten
 4    by it being stated that the money that was originated was funded from companies owned
 5    by drug cartels and it was further stated that Jose Aquino must be very careful not to
 6    make any noise or his life is in danger.
 7           4.     At the same time, defendants’, Alejandro Carrillo Garza Sada, GM Global
 8    S. A. de CV, Erwin Lino; David Lopez, Roberto Calleja, Hugo Vigues, Alfredo/Carrillo
 9    Chontkowsky, Jose Carrillo Chontkowsky, Alejandro Ramirez Gonzalez, SISA S. A. De
10    CV, Manuel Gascon and Jiramos S.A. de C.V., had secretly determined that they will use
11    plaintiff’s American companies to convert campaign funds for their personal use, and
12    denying plaintiff from receiving it’s just benefits from the written contract dated
13    November 28, 2011. As part of that plan, the defendants and others acting with them
14    made numerous fraudulent misrepresentations to plaintiff Frontera Television Network
15    LLP through it’s authorized agents and concealed numerous material facts from plaintiff,
16    Frontera Television Network LLP through it’s authorized agents which helped to induce
17    plaintiff Frontera Television Network LLP through it’s authorized agents to entering into
18    the written contract dated November 28, 2011. As a condition to make a payment of $15
19    million US dollars as advance payment for the realization of the project, defendant,
20    Alejandro Carrillo Garza Sada decided that on January 6, 2012, that he will enter into
21    another contract between "Intellimedia" and SISA, a company dedicated to providing
22    services to the agricultural sector, property of Mr. Alejandro Ramirez Gonzalez, General
23    Director of the Confederation of Porcicultores of Mexico, who entered into a contract
24    with defendant Alejandro Carrillo Garza Sada and who assumed the responsibility to
25    pay plaintiff Frontera Television Network LLP through it’s authorized agents, as well as
26    monitor the implementation of the project in the United States of America, turning the
27    purchase orders where specified in a manner clear with and accurate, means, amounts,
28    squares and markets to cover, as well as ways to do recruitment and testing of


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 1    investments (billing), that was designed to enrich defendant, Alejandro Carrillo Garza
 2    Sada, GM Global S. A. de CV, Erwin Lino; David Lopez, Roberto Calleja, Hugo Vigues,
 3    Alfredo/Carrillo Chontkowsky, Jose Carrillo Chontkowsky, Alejandro Ramirez
 4    Gonzalez, SISA S. A. De CV, Manuel Gascon and Jiramos S.A. de C.V., and others who
 5    were acting in concert with them.
 6                                  JURISDICTION AND VENUE
 7           5.     The Court has subject matter jurisdiction over this action pursuant to 18
 8    U.S.C. § 1964(c) and 28 U.S.C. § 1331.
 9           6.     This action arises under the laws of the United States, in particular, the
10    Racketeer Influenced and Corrupt Organizations Act ("RICO"), 18 U.S.C. § 1961 et seq.
11           7.     The Court has supplemental jurisdiction over the state law claims for relief
12    pursuant to 28 U.S.C. § 1367(a), since these claims arise from a common nucleus of
13    operative facts and are so intertwined with the federal claims for relief as to make an
14    exercise of the Court's jurisdiction appropriate.
15           8.     Venue is proper under 18 U.S.C. § 1965(a) and 28 U.S.C. § 1391(b).
16           9.     Defendants are subject to the personal jurisdiction of this Court inasmuch
17    as they are located in Mexico and have purposefully availed themselves of the privileges
18    of doing business in California with regard to the actions alleged herein, and such
19    jurisdiction is reasonable.
20           10.    Venue is proper in this district because 1) Plaintiff does business within the
21    Eastern District of California; 2) Defendant Alejandro Carrillo Garza Sada resides in
22    Mexico; 3) Defendant GM Global S. A. de CV is an organization conducting business in
23    Mexico; 4) Defendant Erwin Lino resides in Mexico; 5) Defendant David Lopez resides
24    in Mexico; 6) Defendant Roberto Calleja resides in Mexico; 7) Defendant Hugo Vigues
25    resides in Mexico; 8) Defendant Alfredo/Carrillo Chontkowsky resides in Mexico; 9)
26    Defendant Jose Carrillo Chontkowsky resides in Mexico; 10) Defendant Alejandro
27    Ramirez Gonzalez resides in Mexico; 11) Defendant SISA S. A. De CV is an
28    organization conducting business in Mexico; 12) Defendant Manuel Gascon resides in


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 1    Mexico; 13) Defendant Jiramos S. A. De CV is an organization conducting business in
 2    Mexico; 14) a substantial part of the acts complained of occurred in the Eastern District
 3    of California and 15) the contract at issue was performed in the Eastern District of
 4    California (28 U.S.C. § 1391(b)(2)).
 5           11.    Contrary to numerous false representations made to plaintiff Frontera
 6    Television Network LLP through it’s authorized agents by defendant Alejandro Carrillo
 7    Garza Sada; GM Global S. A. de CV; Erwin Lino; David Lopez; Roberto Calleja; Hugo
 8    Vigues; Alfredo/Carrillo Chontkowsky; Jose Carrillo Chontkowsky; Alejandro Ramirez
 9    Gonzalez; SISA S. A. De CV; Manuel Gascon; Jiramos S.A. de C.V. by and through
10    Giselle Moran who was acting as the personal representative and agent for Mario Ignacio
11    Moran Jimenez, from the beginning of Alejandro Carrillo Garza Sada and their co-
12    conspirators involvement with Enrique Pena Nieto’s media candidacy Campaign, he and
13    his co-conspirators including defendant Alejandro Ramirez engaged in a scheme that had
14    as its object the conversion of campaign funds from the candidate of the PRI to the
15    Presidency of the Republic, so that defendant Alejandro Carrillo Garza Sada and his co-
16    conspirators could justify converting the campaign funds from the candidate of the PRI
17    to the Presidency of the Republic, for their own private and personal use and these funds
18    where later to have been discovered to being reported as being supplied by companies
19    owned by the drug cartel. The conduct by the Defendants that effectively destroyed the
20    economic viability of the campaign for the candidate for the PRI for the Presidency of
21    the Republic included converting the campaign funds from the candidate of the PRI to
22    the Presidency of the Republic, for their own private and personal use and stating to
23    Frontera Television Network LLP through it’s authorized agent that the money that was
24    originated was funded from companies owned by drug cartels and it was further stated
25    that Jose Aquino must be very careful not to make any noise or his life is in danger,
26    thereby, abandoning agreed-upon financial plans for the campaign for the candidate for
27    the PRI for the Presidency of the Republic, and undermining a planned recapitalization
28    of the campaign that would have added new respectful contributors.


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 1           12.    Between October 2011 and 2012, defendants continued to make numerous
 2    false representations and material omissions to Plaintiff Frontera Television Network
 3    LLP through it’s authorized agents as they carried out their plans to convert campaign
 4    funds received by the companies owned by the drug cartel from drug activities and
 5    remove plaintiff Frontera Television Network LLP from standing in the way of that
 6    objective. As a result, plaintiff Frontera Television Network LLP have received nothing
 7    from their work, while defendants’ having allowed plaintiff Frontera Television Network
 8    LLP through it’s authorized agents to use their American Companies to make the
 9    campaign successful in the United States of America. This dilution gave defendants’ the
10    power to dispose of the candidate for the PRI for the Presidency of the Republic and thus
11    carry out the objective of defendants' conspiracy.
12           13.    Upon information and belief, in or about October 2011, Francisco Torrez
13    invited plaintiff Frontera Television Network LLP through it’s authorized agents to meet
14    PRI official Alejandro Carrillo Garza Sada, Mario Ignacio Moran Jimenez, Giselle
15    Morgan, Alfredo Carrillo, Jose Carrillo, David Lopez and Roberto Calleja, all
16    represented to plaintiff Frontera Television Network LLP through it’s authorized agents
17    to be PRI representatives running Candidate EPN campaign for president of Mexico,
18    after plaintiff Frontera Television Network LLP through it’s authorized agents offered a
19    package of $15,000,000 US dollars, defendants’ decided to increase the amount to
20    $56,000,000 US dollars, after the parties agreed, within the next 5 days the parties
21    proceeded to sign all agreements. Plaintiff Frontera Television Network LLP with
22    Jiramos and Mario Ignacio Moran Jimenez for GM Global S. A. De CV. Jiramos was
23    represented by Alejandro Carrillo Garza Sada and GM Global S. A. De CV was
24    represented by Giselle Moran and her brother Mario Moran in which both were
25    contracting and signing the main contract as representatives agents between Frontera
26    Television Network LLP and PRI officials ( David Lopez, Edwin Lino, Alfredo Carrillo,
27    Jose Carrillo, Hugo, and Roberto Calleja within approximately 15 days all the parties met
28    and agreed to all of the terms and conditions and they all met at a notary office and


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 1    execute the written agreement, within two weeks after money was funded by David
 2    Lopez and Edwin Lino to Alejandro Carrillo Garza Sada company Jiramos, defendants’
 3    informed plaintiff Frontera Television Network LLP through it’s authorized agent that in
 4    order to make all of this legal that they wanted to exchange the existing agreement for a
 5    new agreement, Frontera Television Network LLP through it’s authorized agentwas
 6    forced to sign the supplemental written agreement and signed the second agreement were
 7    Jiramos was not going to fund money to Frontera Television Network LLP but rather
 8    defendants’ asked Jose Aquino the agent for Frontera Television Network LLP to bring a
 9    new company known as Intellimedia LP and then defendants had Jose Aquino to sign the
10    new agreements under Intellimedia LP and from defendants’ side they brought a new
11    company call SISA The National Association of Porcicultores and Agriculture. The
12    written agreements were signed, defendants’ signed the agreement as well, and promised
13    to provide funding in the amount of $5,000,000 US Dollars by April 1, 2012,
14    notwithstanding this never happened and since then defendants’ all changed their email
15    addresses and also changed their cell phone numbers and they all hiding and refuses to
16    answer any telephone calls from plaintiff Frontera Television Network LLP through it’s
17    authorized agents or their attorney.
18           14.    Upon information and belief, plaintiff believe that SISA is also a
19    government entity and plaintiff believes that SISA is well involved with the acts
20    complained of herein. Plaintiff believes that SISA was a party to the fraud because the
21    SISA had no intention to pay plaintiff for the use of it’s American Companies but only
22    agreed to do so in order to justify the money to be withdrawn from sponsors and from the
23    State of Mexico to pay for illegal interviews that were not allowed by IFE. Upon
24    information and belief, plaintiff believe that the IFE is also a government entity that
25    regulates campaign money.
26    ///
27    ///
28    ///


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 1           15.    Upon information and belief, plaintiff believe that all funds where funded
 2    to Alejandro Carrillo Garza Sada at his Monex Bank and Mifel Bank, then defendant
 3    Alejandro Carrillo Garza Sada split the funds with Giselle Moran, David Lopez, Erwin
 4    Lino, Alfredo/Pepe Carrillo Chontkowsky, Roberto Calleja and Hugo Vigues.
 5           16.    Plaintiff Frontera Television Network LLP through it’s authorized agents
 6    sent an attorney to talk to Edwin Lino, Alfredo Carrillo, David Lopez, Jose Carrillo and
 7    Roberto Calleja, and even have exchanged emails and plaintiff Frontera Television
 8    Network LLP through it’s authorized agent was threaten by it being said that this money
 9    was contributed by companies owned by drug cartels and that Jose Aquino should be
10    very careful not to make any noise or his life will be in danger.
11           17.    All of the defendants thus attained their mutual goal of carrying out a
12    scheme to deprive plaintiff Frontera Television Network LLP of their labor. The
13    defendants also attained their goal of converting the campaign funds from the candidate
14    of the PRI to the Presidency of the Republic, for their own private and personal use and
15    stating to Jose Aquino that the money that was originated was funded by companies
16    belonging to the drug cartel from drugs and for Jose Aquino to be very careful and not to
17    make any noise or his life is in danger, thereby, abandoning the agreed-upon financial
18    plans for the campaign for the candidate for the PRI for the Presidency of the Republic,
19    and undermining a planned recapitalization of the campaign that would have added new
20    respectful contributors.
21           18.    This Complaint alleges claims against defendants Alejandro Carrillo Garza
22    Sada; GM Global S. A. de CV; Erwin Lino; David Lopez; Roberto Calleja; Hugo
23    Vigues; Alfredo/Carrillo Chontkowsky; Jose Carrillo Chontkowsky; Alejandro Ramirez
24    Gonzalez; SISA S. A. De CV; Manuel Gascon; Jiramos S.A. de C.V., under both the
25    Racketeering Influenced and Corrupt Organizations Act, 18 U.S.C. § 1961 et seq.
26    ("RICO"), and applicable state law.
27    ///
28    ///


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 1           19.    Plaintiff Frontera Television Network LLP through it’s authorized agents
 2    seek redress for their injuries, including compensatory damages, which are tripled under
 3    RICO, and punitive damages in an amount no less than US $100 million. In addition,
 4    this action seeks a constructive trust over the campaign for the candidate for the PRI for
 5    the Presidency of the Republic, and injunctive relief prohibiting the contraction, for any
 6    new campaign advertising for the PRI for the Presidency of the Republic.
 7                                         THE PARTIES
 8    Plaintiffs
 9           19.    Plaintiff Frontera Television Network LLP is a Limited Liability
10    Partnership formed and organized under the Laws of the State of Nevada with it’s
11    principal place of business in San Diego County, and San Bernardino County California.
12    Plaintiff Frontera Television Network LLP has its managing partner address of 711 S.
13    Carson Street Suite 4, Carson City NV 89701. The agent for service of process is
14    Resident Agents of Nevada, Inc., located at 711 S. Carson Street Suite 4, Carson City
15    NV 89701.
16    Defendants
17           20.    Plaintiff Frontera Television Network LLP through it’s authorized agent is
18    informed and believe and based thereon alleges that 1) Defendant Alejandro Carrillo
19    Garza Sada resides in Mexico; 2) Defendant GM Global S. A. de CV is an organization
20    conducting business in Mexico; 3) Defendant Erwin Lino resides in Mexico; 4)
21    Defendant David Lopez resides in Mexico; 5) Defendant Roberto Calleja resides in
22    Mexico; 6) Defendant Hugo Vigues resides in Mexico; 7) Defendant Alfredo/Carrillo
23    Chontkowsky resides in Mexico; 8) Defendant Jose Carrillo Chontkowsky resides in
24    Mexico; 9) Defendant Alejandro Ramirez Gonzalez resides in Mexico; 10) Defendant
25    SISA S. A. De CV is an organization conducting business in Mexico; 11) Defendant
26    Manuel Gascon resides in Mexico; 12) Defendant Jiramos S. A. De CV is an
27    organization conducting business in Mexico.
28    ///


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 1           21.    The Defendants conduct business in this District through their operation of
 2    the Plaintiff Frontera Television Network LLP for the purpose of providing television
 3    network to advertise in the United States of America for PRI campaign for the political
 4    presidential candidacy of Enrique Pena Nieto. Pursuant to meetings between the parties,
 5    a contract was entered between the parties for political advertising campaign for PRI
 6    candidate. Defendants authorized the execution of a contract to obtained funding from
 7    the Mexican government to advertise in the United States for PRI campaign for the
 8    political presidential candidacy of Enrique Pena Nieto. Defendants, upon information
 9    and belief, also maintain residences in Mexico.
10           22.    The ill-gotten gains of the Defendants include the sum of $56,000,000
11    Million US Dollars of campaign funds which were intended to be used for advertisement
12    throughout the United States of America for PRI campaign for the political presidential
13    candidacy of Enrique Pena Nieto.
14           23.    The conduct of defendants alleged in this Complaint took place, in
15    material part, in this District. including through fraudulent misrepresentations made by
16    the Defendants in this District.
17                                  FACTUAL ALLEGATIONS
18    The History Of The Contract
      The Plan To Advertise in The United States
19
20           24.    In November of 2011, Mr. José Aquino, owner and President of Frontera
21    Television Network, was invited by Mr. ALEJANDRO CARRILLO GARZA SADA to
22    meet Mr. PEPE CARRILLO at a breakfast at the Café de la O del Conjunto Arcos, who
23    presented a project to disseminate the image and positioning of the Lic. Enrique Peña
24    Nieto, then candidate of the PRI to the Presidency of the Republic, through spectacular,
25    magazines, radio, television, Internet and social networks to be operated in the United
26    States of America, using the structure and relations of Mr. Aquino with the media in the
27    United States, project for which he was asked and subsequently design a Media Plan, for
28    an amount of $56 million US dollars, the terms and conditions being agreed and the


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 1    amounts being agreed to by the parties to the contract. A true and correct copy of the
 2    contract is attached as Exhibit “A” and is incorporated herein by this reference.
 3           25.    In the same month, in a subsequent meeting, it was introduced by the
 4    CARRILLO brothers (ALFREDO AND PEPE) Mr. HUGO BIJES, who was presented
 5    as a person close to one of the key characters to authorize the funding for the project and
 6    resources at the express request of the Mr. Alejandro Carrillo Garza Sada, Mr. José
 7    Aquino, in good faith and as was agreed and it was required, delivered on time and
 8    efficiently to Mr. Alejandro Carrillo, documents (incorporation, powers, copies of IDs,
 9    etc) that accredit reliably the veracity of his person as well as the truthfulness, solvency
10    and prestige of their companies, same as Mr. ALEJANDRO CARRILLO used along
11    with his company JIRAMOS, S.A. DE C.V., for the award of the project, carrying out
12    subsequent meetings with some people who said to be members of the campaign with the
13    objective to know and to refine the draft, who include Mr. EDWIN LINO, DAVID
14    LOPEZ, ROBERTO CALLEJAS and GUSTAVO LOMELIN, those who know of the
15    project and were participating in the same, to a greater or lesser extent.
16           26.    Mr Alejandro Carrillo reported that he already had done business
17    previously with the PRI (mention several sales of t-shirts), and therefore already had
18    business backgrounds, as well as necessary records as a supplier and guarantees that
19    were required by the CARRILLO brothers, for an amount of $900,000, so that argument
20    that it would expedite the award to making it necessary that the award was through his
21    companies and that they would receive the award of the contract.
22           27.    In this tenor, on November 28, 2011, the contract was signed between
23    Frontera Television Network, the company called JIRAMOS, S.A. DE C.V., and a
24    company called GM GLOBAL S. A. De CV MEDIA, owned by Mrs. GISELLE
25    MORAN, a contract for the provision of services, whose purpose would be the hiring of
26    services of development of promotions for the purpose mentioned in this complaint.
27    ///
28    ///


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 1           28.    Then, Mr. Alejandro Carrillo commented that it was necessary to replace
 2    such a contract where Mrs. GISELLE MORAN participated, on the other, who
 3    commented that the lady was not well seen by 'friends', so at the suggestion of Mr.
 4    Alejandro Carrillo, on or about in December 6, 2011, the contract was cancelled referred
 5    to in the previous point and proposed to submit documentation for another company also
 6    owned by Mr. José Aquino, named "Intellimedia", to sign a new contract, only between
 7    JIRAMOS and the company of Mr. Aquino.
 8           29.    To this end, Mr. Alejandro Carrillo urged the change of the company,
 9    because he said he had the funds available, and it was urgent to distribute the funds for
10    not incurring absence to what has been agreed, and that the company would have the
11    time and sufficient resources for book due in advance, best patterns and spaces in media
12    in the USA, for the agreed purpose.
13           30.    For those purposes, of people in the team's campaign, in late December,
14    2011 some people were sent headed by the Mr. GUSTAVO LOMELIN, to know, check
15    and make sure the accuracy, seriousness and existence of the station, so as the prestige,
16    responsiveness and ability to operate the project with the rest of the media that were
17    needed and which were reflected in the proposal.
18           31.    As a condition to make a payment of $15 million US Dollars as advance
19    payment for the realization of the project, Mr. ALEJANDRO CARRILLO decided that
20    on January 6, 2012, will enter into a contract between "Intellimedia" and SISA, a
21    company dedicated to providing services to the agricultural sector, property of Mr.
22    ALEJANDRO RAMIREZ GONZALEZ, General Director of the Confederation of
23    Porcicultores of Mexico, who celebrated a contract with Mr. CARRILLO and who
24    assumed the responsibility to pay Mr. Aquino and his company, as well as monitor the
25    implementation of the project in the United States, turning the purchase orders where
26    specified in a manner clear and accurate, means, amounts, squares and markets to cover,
27    as well as way to do recruitment and testing of investments (billing).
28    ///


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 1           32.    In order to provide an immediate resources for the effective
 2    implementation of the project, SISA was engaged in the contract referred to in the
 3    complaint, to deposit to INTELLIMEDIA, within 5 five days following the signing of
 4    the contract, the amount of $15 million, US Dollars as a down payment of the total
 5    purchase of advertising for the candidate in the United States.
 6           33.    In compliance with and the signed contract forecast, Intellimedia
 7    proceeded to recruit and book time and advertising spaces in United States of America,
 8    for the implementation of purchase orders, generating expenditure and commitments for
 9    the attainment of the objective which it was requested, notwithstanding Intellimdeia nor
10    Plaintiff received any money from SISA, or Mr. ALEJANDRO CARRILLO as
11    promised.
12           34.    It is required that Mr. ALEJANDRO CARRILLO GARZA SADA and his
13    partners, to fulfill the contract reference in this complaint as Exhibit “A” and it has been
14    known that he has received funds, using project contracts and information of companies
15    which in good faith and in accordance with the agreed upon terms and conditions, which
16    were provided by Mr. José Aquino. Now, some of the partners of Mr. Alejandro Carrillo
17    Garza Sada have already received funds from the project, being the case any breach to
18    Plaintiff, has caused damages both economic and commercial relationship and requiring
19    Plaintiff to get it’s name, it’s prestige and it’s companies before the media, that because
20    of Mr. Alejandro Carrillo Garza Sada representations Plaintiff relied on him and expects
21    the agreed remuneration.
22           35.    It is important to acknowledge the people who decide in the campaign, that
23    Mr. ALEJANDRO CARRILLO and partners, used without any modesty, the names of
24    key characters in the environment of the candidate, and refer to them as part of the
25    business, and as those preventing them to fulfill the contract, to point out that they have
26    not received instruction to do so, already he has mentioned, that it will not have any
27    money, if not authorized to, being the case, that his act of irresponsibility, could result in
28    a situation of risk and make these events transcend beyond what is necessary.


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 1           36.    Since it has been already more than five months that the project was agreed
 2    and knowing that the resources are in concentrated account of Mr. ALEJANDRO
 3    CARRILLO and given the repeated breaches of payment and cancellations of meetings
 4    without justification and that seem that some of the people whom Mr. Carrillo refers as
 5    his "partners" in the project (friends) have already received resources, Mr. José Aquino
 6    has pointed out, that he would be willing to wait for an answer which will be final in this
 7    matter until the 4 Day of May 2012, as otherwise, it could terminate this stage of seeking
 8    a friendly and convenient solution for all, and you could see the need of having to
 9    activate legal actions, research, civil, or criminal prosecution.
10
11                                     RICO ALLEGATIONS
12           37.    Plaintiffs are "persons" within the meaning of 18 U.S.C. § 1964(c).
13           38.    At all times relevant hereto, plaintiffs and the defendants were and are
14    "persons" within the meaning of 18 U.S.C. § 1961(3).
15           39.    The following persons, and others presently unknown, have been members
16    of and constitute an "enterprise" within the meaning of RICO, which plaintiff
17    collectively refer to as the "United States for PRI campaign for the political presidential
18    candidacy of Enrique Pena Nieto Enterprise": (1) Alejandro Carrillo Garza Sada; (2) GM
19    Global S. A. de CV; (3) Erwin Lino; (4) David Lopez; (5) Roberto Calleja; (6) Hugo
20    Vigues; (7) Alfredo/Carrillo Chontkowsky; (8) Jose Carrillo Chontkowsky; (9) Alejandro
21    Ramirez Gonzalez; (10) SISA S. A. De CV; (11) Manuel Gascon; and (12) Jiramos S.A.
22    de C.V.
23           40.    The United States for PRI campaign for the political presidential candidacy
24    of Enrique Pena Nieto Enterprise is an ongoing enterprise, which engages in and whose
25    activities affect, interstate and international commerce. The United States for PRI
26    campaign for the political presidential candidacy of Enrique Pena Nieto continues to
27    operate in Mexico, and there is a continuing threat of criminal activity until the United
28    States for PRI campaign for the political presidential candidacy of Enrique Pena Nieto


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 1    Enterprise has accomplished its goal of converting campaign funds for it’s own private
 2    and personal use including funds contributed by drug cartels.
 3           41.    While the defendants participate in the enterprise and are a part of
 4    it, the defendants also have an existence separate and distinct from the enterprise.
 5           42.    Defendants conduct or participate in the conduct of the United States for
 6    PRI campaign for the political presidential candidacy of Enrique Pena Nieto Enterprise’s
 7    affairs through a pattern of racketeering activity.
 8           43.    Defendants' participation in the United States for PRI campaign for the
 9    political presidential candidacy of Enrique Pena Nieto Enterprise is necessary for the
10    successful operation of defendants' scheme.
11           44.    The enterprise has an ascertainable structure separate and apart from the
12    pattern of racketeering activity in which the defendants engage. The United States for
13    PRI campaign for the political presidential candidacy of Enrique Pena Nieto Enterprise
14    operated and operates with two related structures, one of which is headed by Alejandro
15    Carrillo Garza Sada (with Erwin Lino and others as his subordinates), and the
16    other of which is headed by David Lopez (with Roberto Calleja and others as his
17    subordinates). The structure operated by Mr. Alejandro Carrillo Garza Sada was and is
18    subordinate to David Lopez who acted on behalf of the SISA S. A. De CV.
19    Predicate Acts
20           45.    The numerous predicate acts of mail and wire fraud described herein are
21    part of the fraudulent schemes by defendants designed to perpetrate a scheme in the
22    United States for PRI campaign for the political presidential candidacy of Enrique Pena
23    Nieto Enterprise.
24           46.    Section 1961 (1) of RICO provides that "racketeering activity" is any act
25    indictable under any of the provisions of Title 18, United States Code § 1341 (relating to
26    mail fraud), § 1343 (relating to wire fraud), and § 1346 (relating to scheme or artifice to
27    defraud).
28    ///


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 1           47.     In carrying out the overt acts and fraudulent schemes described above, the
 2    defendants engaged in, among other things, conduct in violation of federal laws,
 3    including 18 U.S.C. §§ 1341, 1343, and 1346, 18 U.S.C. § 1952(a), and 18 U.S.C. §
 4    1961 et seq.
 5           48.     Examples of the predicate acts committed by defendants pursuant to their
 6    scheme in the United States for PRI campaign for the political presidential candidacy of
 7    Enrique Pena Nieto Enterprise include those set forth above in paragraphs 1, 3-4, 11-19,
 8    21-23, and 24-36. Upon information and belief, there have been numerous other
 9    predicate acts by defendants that are presently unknown to plaintiff.
10    Mail And Wire Fraud
11           49.     For the purpose of executing and/or attempting to execute their scheme to
12    defraud plaintiff by means of false pretenses, representations or promises, the
13    defendants, in violation of 18 U.S.C. § 1341, placed in post offices and/or in authorized
14    repositories for mail matter and things to be sent or delivered by the Postal Service, and
15    received matter and things therefrom, including but not limited to agreements,
16    correspondence, faxes, and other materials.
17           50.     For the purpose of executing and/or attempting to execute their scheme to
18    defraud plaintiff by means of false pretenses, representations or promises, the
19    defendants, in violation of 18 U.S.C. § 1343, transmitted and received by wire matter and
20    things therefrom, including but not limited to agreements, correspondence, faxes, and
21    other materials.
22           51.     In those matters and things sent or delivered by the Postal Service, by wire,
23    and through other interstate and international electronic media, defendants falsely and
24    fraudulently misrepresented and/or fraudulently concealed material facts from plaintiff,
25    in violation of 18 U.S.C. §§ 1341 and 1343, including but not limited to those acts set
26    forth above in Paragraphs 1, 3-4, 11-19, 21-23, and 24-36.
27    ///
28    ///


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 1           52.      As a result, plaintiff have been injured in it’s business or property by the
 2    defendants' overt acts and racketeering activities.
 3    Pattern of Racketeering Activity
 4           53.      As set forth herein, the defendants have engaged in a "pattern of
 5    racketeering activity," as defined in 18 U.S.C. § 1961(5), by committing and/or
 6    conspiring to commit at least two such acts of racketeering activity, as described herein,
 7    within the past two years. Defendants have committed multiple acts of racketeering
 8    activity within such period. Each such act of racketeering activity was related, had
 9    similar purposes, involved the same or similar participants and methods of commission,
10    and had similar results impacting upon similar victims, including plaintiff.
11           54.      The multiple acts of racketeering activity committed and/or conspired to
12    commit by defendants, as described above, were related to each other and amount to and
13    pose a threat of continued racketeering activity, and, therefore, constitute a "pattern of
14    racketeering activity," as defined in 18 U.S.C. § 1961(5).
15
16                                                COUNT I
17                                    RICO -- 18 U.S.C. § 1962(c)
18                                       (against all defendants)
19           55.      The plaintiff incorporate and reallege the previous paragraphs as if fully set
20    forth herein.
21           56.      Section 1962(c) of RICO provides that "[i]t shall be unlawful for any
22    person employed by or associated with any enterprise engaged in, or the activities of
23    which affect, interstate or foreign commerce, to conduct or participate, directly or
24    indirectly, in the conduct of such enterprise's affairs through a pattern of racketeering
25    activity or collection of unlawful debt."
26           57.      Through the patterns of racketeering activities outlined above, the
27    defendants have conducted and participated in the affairs of the United States for PRI
28    campaign for the political presidential candidacy of Enrique Pena Nieto Enterprise’s


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 1    affairs through a pattern of racketeering activity.
 2              58.   As a direct and proximate result of defendants' illegal conduct in violation
 3    of 18 U.S.C. § 1962(c), plaintiff have been injured in it’s business or property, including,
 4    but not limited, by:
 5                    (a)    the theft, lost value, conversion of funds of plaintiff ownership
 6                           interests in the money earned for Tele-media;
 7                    (b)    the lost profits plaintiff would have achieved but for defendants'
 8                    unlawful conduct;
 9                    (c)    the damage to plaintiff's businesses that has occurred as a result of
10                           the pending contract; and
11                    (d)    the harm to plaintiff's goodwill that has occurred as a result of the
12                           pending contract.
13              59.   With respect to their violations of 18 U.S.C. § 1962(c), defendants have
14    acted at all times with malice toward plaintiff, and with the specific intent to commit the
15    predicate acts alleged herein and to participate in the affairs of the United States for PRI
16    campaign for the political presidential candidacy of Enrique Pena Nieto Enterprise’s
17    affairs through a pattern of racketeering activity.
18
19                                               COUNT II
20                                    RICO -- 18 U.S.C. § 1962(d)
21                                        (against all defendants)
22              60.   Plaintiff incorporate and reallege the previous paragraphs as if fully set out
23    herein.
24              61.   This claim seeks relief for the defendants' activities described herein for
25    violations of 18 U.S.C. § 1962(d), for conspiring to violate 18 U.S.C. § 1962(c).
26              62.   Section 1962(d) of RICO provides that "[i]t shall be unlawful for any
27    person to conspire to violate any of the provisions of subsection (a), (b) or (c) of this
28    section."


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 1           63.    Absent defendants' conspiracy and joint efforts, defendants' fraudulent
 2    enterprise would not be successful.
 3           64.    Defendants have violated § 1962 (d) by conspiring to violate 18 U.S.C. §
 4    1962(c). The object of this conspiracy has been and is to engaged in a scheme that had
 5    as its object the conversion of campaign funds from the candidate of the PRI to the
 6    Presidency of the Republic, so that defendant Alejandro Carrillo Garza Sada and his co-
 7    conspirators could justify converting the campaign funds from the candidate of the PRI
 8    to the Presidency of the Republic, for their own private and personal use and these funds
 9    where later to have been discovered to being reported as being supplied by companies
10    owned by the drug cartel and to conduct and/or participate in, directly or indirectly, the
11    conduct of the affairs of the § 1962(c) enterprise described above through a pattern of
12    racketeering activity.
13           65.    Defendants and their agents have been joined in their conspiracies to
14    violate 18 U.S.C. § 1962( c) by various third parties not named as defendants herein.
15           66.    Defendants agreed to the objective of an 18 U.S.C. § 1962(d) violation of
16    RICO by conspiring to violate 18 U.S.C. § 1962 (c), and agreed to commit overt acts and
17    predicate acts, as alleged in this Complaint, to effectuate that conspiracy. Defendants
18    were aware that their acts were part of an overall pattern of racketeering activity.
19           67.    As a direct and proximate result of the defendants' overt acts and predicate
20    acts in furtherance of violating 18 U.S.C. § 1962(d) by conspiring to violate 18 U.S.C. §
21    1962(c), plaintiff have been and is continuing to be injured in it’s business or property as
22    described above in Paragraph 58.
23    ///
24    ///
25    ///
26    ///
27    ///
28    ///


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 1                                           COUNT III
 2                                              Fraud
 3                                     (against all defendants)
 4           68.    Plaintiff incorporate and reallege the preceding paragraphs as if fully set
 5    out herein.
 6           69.    As set forth in Paragraphs 1, 3-4, 11-19, 21-23, and 24-36 above, the
 7    Defendants and/or their representatives knowingly and fraudulently made numerous false
 8    statements to plaintiff and/or it’s representatives, and knowingly and fraudulently
 9    concealed numerous material facts from plaintiff and it’s representatives, concerning
10    various events related to the campaign funds from the candidate of the PRI to the
11    Presidency of the Republic and plaintiff interests in labor therein, including but not
12    limited to the following:
13                  (a)    representations by the Defendants and/or their representatives
14                         during the period from at least October 2011 to May 2012 that
15                         Plaintiff would receive the sum of $5,000,000 US Dollars for
16                         services rendered to keep the campaign alive;
17                  (b)    representations by the Defendants and/or their representatives
18                         during the period from October 2011 through May 2012 that
19                         Defendants intended to tender to Frontera Television Network LLP
20                         the sum of $5,000,000 US Dollars under the terms and conditions of
21                         the contract;
22                  (c)    representations by the Defendants and/or their representatives
23                         during the period from October 2011 to May 2012 that Defendants
24                         would comply with the contract as agreed;
25                  (d)    representations by the Defendants and/or their representatives
26                         during the period from the October 2011 through May 2012 in
27                         which they intentionally misrepresented and concealed the material
28                         fact that Defendants had no intention to pay Fronetra Television


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 1                          Network LLP for it’s services pursuant to the contract;
 2           70.    Defendants made such false statements and omissions without legal
 3    justification or excuse, with malice, ill will and/or with the intent to purposely
 4    defraud plaintiff.
 5           71.    Plaintiff justifiably relied upon, and was deceived by, the fraudulent
 6    statements by, and material omissions of, defendants.
 7           72.    Plaintiff have been injured as a result of the fraudulent statements by, and
 8    material omissions of, defendants, as described above in Paragraph 69.
 9                                            COUNT IV
10                                    Breach of Fiduciary Duty
11          (against defendants Alejandro Carrillo Garza Sada and SISA S. A. De CV)
12           73.    Plaintiff incorporate and reallege the preceding paragraphs as if fully set
13    out herein.
14           74.    Defendant Alejandro Carrillo Garza Sada and SISA S. A. De CV by virtue
15    of their position in the distribution of the campaign funds and the responsibilities they
16    hold in those positions, at all relevant times owed a fiduciary duty to plaintiff, which the
17    contract was designed to benefit for an exchange for services for the benefit of the
18    campaign.
19           75.    Defendants Alejandro Carrillo Garza Sada and SISA S. A. De CV, each,
20    individually and collectively, owed a fiduciary duty to the plaintiff pursuant to the
21    contract to insure that Plaintiff would receive the benefit of the contract pursuant to it’s
22    terms and conditions. These defendants owed plaintiff a fiduciary duty because these
23    defendants all held, and still hold, positions of trust, confidence, and responsibility, and
24    are empowered to bind the campaign for general business matters, and these duties must
25    be undertaken by these defendants with a view towards the best interest of, among the
26    other campaign advertisement participants, including plaintiff.
27    ///
28    ///


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 1            76.    As set forth in Paragraphs 1, 3-4, 11-19, 21-23, and 24-36 above,
 2    Defendants repeatedly breached those duties to plaintiff, including but not limited to
 3    through the commission of the following acts:
 4                   (a)    representations by Mr. Alejandro Carrillo Garza Sada and/or their
 5                          representatives during the period from at least October 2011 to May
 6                          2012, in which they falsely stated that they will tender to plaintiff
 7                          the sum of $5,000,000 US Dollars by April 1, 2012 pursuant to the
 8                          contract, when in fact they intended to tender to plaintiff the sum of
 9                          $5,000,000 US Dollars by pursuant to the contract.
10            77.    Defendants Alejandro Carrillo Garza Sada and SISA S. A. De CV
11    have engaged in acts that were designed to further their own personal interests in
12    achieving the conversion of the campaign funds for their own personal use, as part of an
13    overall contraction scheme, at the expense of plaintiff to whom they owed a fiduciary
14    duty.
15            78.    Plaintiff have been severely injured as a result of the breaches of
16    fiduciary duty by Defendants Alejandro Carrillo Garza Sada and SISA S. A. De CV, as
17    described above in Paragraph 76.
18
19                                             COUNT V
20                                   Negligent Misrepresentation
21                                      (against all defendants)
22            79.    Plaintiff incorporate and reallege the preceding paragraphs as if fully set
23    out herein.
24            80.    Defendants by virtue of their positions in the campaign and the
25    responsibilities they hold in the campaign, at all relevant times owed a fiduciary duty to
26    plaintiff, who was hired by defendants to perform services at defendants request and
27    directions.
28    ///


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 1           81.    Defendants and each of them stood in a special relationship of trust,
 2    confidence and responsibility in their obligation to plaintiff, such that plaintiff's reliance
 3    on the representations of these persons was justified.
 4           82.    As set forth in Paragraphs 1, 3-4, 11-19, 21-23, and 24-36 above,
 5    Defendants failed to speak with care in making representations and omissions of material
 6    facts, which those defendants intended plaintiff would rely upon, including the
 7    following:
 8                  (a)     representations by defendant Alejandro Carrillo Garza Sada and/or
 9                          their representatives during the period from at least October 2011 to
10                          May 2012, in which they falsely stated that they would tender to
11                          plaintiff the sum of $5,000,000 US Dollars for services performed
12                          in connection with the campaign, when in fact they intended not to
13                          ever pay plaintiff for it’s services.
14           83.    Plaintiff reasonably relied upon the negligent representations and material
15    omissions of the Defendants.
16           84.    Plaintiff have been severely injured as a result of the negligent
17    representations and material omissions by Defendants as described above in Paragraph
18    82.
19                                             COUNT VI
20                                          Injunctive Relief
21                                      (against all defendants)
22           85.    Plaintiff incorporate and reallege the preceding paragraphs as if fully set
23    out herein.
24           86.    The actions taken by defendants as alleged above and incorporated herein
25    have caused and will continue to cause plaintiff irreparable and immediate injury, loss of
26    money, and damages, for which there is no adequate remedy at law.
27    ///
28    ///


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 1           87.    Plaintiff have a clear legal right to the relief sought under applicable law,
 2    and therefore a likelihood of success on the merits of this action and interest in the
 3    subject matter of this lawsuit.
 4           88.    No adequate remedy at law exists that can fully protect plaintiff from the
 5    damages it will suffer if the defendants are permitted to continue in their behavior and
 6    present activities as complained of herein this complaint.
 7           89.    To preserve the status quo would not be adverse to the public interest.
 8           90.    The balance of the equities favors plaintiff and is in the public interest.
 9           91.    The relief sought by the plaintiff is necessary to prevent and restrain the
10    ongoing violations of applicable law as described herein.
11                                             COUNT VII
12                                      Breach of Written Contract
13                                        (against all defendants)
14           92.    Plaintiff incorporate and reallege the preceding paragraphs as if fully set
15    out herein.
16           93.    Plaintiff brings this cause of action to recover damages arising out of the
17    wrongs committed against it by defendants in failing and refusing to perform under the
18    terms and condition of the Contract entered into on November 28, 2011 as well as
19    seeking an order from this court ordering the Specific Performance of the Contract to
20    take immediate affect.
21           94.    After plaintiff attempted to obtain payment from defendant, he discovered
22    that defendants were acting in collusion and designed a scheme not to pay plaintiff
23    pursuant to the terms and conditions of the written contract, notwithstanding the fact that
24    defendants contracted with plaintiff to pay plaintiff the sum of $15,000,000 US Dollars.
25    As a direct and proximate result of the scheme plaintiff is being been damaged in the
26    sum of $15,000,000 US Dollars which amount represents the term and conditions of the
27    contract and what plaintiff will suffer due to the wrongful acts of defendants.
28    ///


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 1     Plaintiff justifiably relied on the representations of defendant in representing that the
 2    defendants will pay plaintiff the sum of $15,000,000 US Dollars as agreed on November
 3    28, 2011.
 4           95.    The failure and refusal of defendant to perform it’s obligations is a breach
 5    of contract and plaintiff has suffered damages in an amount according to proof at trial
 6    and violations of state and federal law. Additionally, plaintiff is seeking other
 7    compensatory and punitive damages against defendants and against DOES 1 through
 8    100 for fraud, collusion, and the wrongful conduct relating to this contract.
 9                                  DEMAND FOR JURY TRIAL
10           Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, plaintiff hereby
11    demand a trial by jury as to all issues in this matter.
12    PRAYER FOR RELIEF
13    WHEREFORE, plaintiff demand judgment against defendants as follows:
14           (a)    compensatory damages in an amount to be determined at trial, for
15    defendants' violations of RICO, plus treble damages, attorneys' fees and costs of this
16    action, all provided by statute as a result of defendants' violations of 18 U.S.C. § 1962;
17           (b)    compensatory damages in an amount to be determined at trial, for the
18    frauds committed by the Defendants;
19           (c)    compensatory damages in an amount to be determined at trial, for the
20    Defendants' breaches of fiduciary duty and negligent misrepresentations;
21           (d)    punitive damages in an amount no less than one hundred million U.S.
22    dollars ($100,000,000);
23           (e)    a constructive trust in favor of plaintiff with respect to all campaign funds
24    pending a determination whether the plaintiff is entitled to payments as promised in the
25    contract dated November 28, 2011;
26           (f)    injunctive relief prohibiting any disbursements of any campaign funds
27    pending the hearing on this matter;
28    ///


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                                                                                            CASE NUMBER:

     Frontera Television Network LLP v. Alejandro Carrillo Garza Sada                        ED CV 12 - 00920 VAP (DTBx)




List additional parties (Check only one box. Use a separate page for each type of party):

      Plaintiff             Defendant        Cross-Complainant               Cross-Defendant




       Erwin Lino; David Lopez; Roberto Calleja; Hugo Vigues; Alfredo/Carrillo Chontkowsky;
       Jose Carrillo Chontkowsky; Alejandro Ramirez Gonzalez; SISA S. A. De CV; Manuel
       Gascon; Jiramos S.A. de C.V. and Does 1 through 100, inclusive




                                                                                                           Page      2     of      2
    Form Adopted by Rule 982(a)(9)(A)            ADDITIONAL PARTIES ATTACHMENT
       Judicial Council of California
    982(a)(9)(A) [New January 1, 1993]                    Attachment to Summons                               American LegalNet, Inc.
                                                                                                              www.USCourtForms.com
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